Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Middle District of Tennessee
                                          (State)                                                                                  ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                          amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                       04/19
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Dura G.P.


                                                 Dura Automotive Systems, LLC
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                           Mailing address, if different from
                                                                                                                principal place
                                                                                                                of business
                                          2200 Helton Drive
                                          Number             Street                                             Number          Street


                                                                                                                P.O. Box
                                          Lawrenceburg, TN 38464
                                          City                            State      Zip Code                   City                          State
                                                                                                                                Zip Code

                                                                                                                Location of principal assets, if different
                                                                                                                from
                                                                                                                principal place of business
                                          Lawrence County
                                          County                                                                Number          Street




                                                                                                                City                          State
                                                                                                                                Zip Code



5. Debtor’s website (URL)                 www.duraauto.com

6.   Type of debtor                       ☐ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☒ Partnership (excluding LLP)

                                          ☐ Other. Specify:


      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 1


         Case 1:19-bk-06735                   Doc 1        Filed 10/17/19 Entered 10/17/19 01:15:32                               Desc Main
                                                           Document     Page 1 of 24
Debtor            Dura G.P.                                                      Case number (if known)
           Name




                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          4413 (Automotive Parts, Accessories, and Tire Stores)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                              4/01/22 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return, or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.    District                           When                      Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a              District                           When                      Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                 Relationship     Affiliate
                                                 Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                     District    Middle District of Tennessee
     List all cases. If more than 1,                                                                          When             10/17/2019
     attach a separate list.                     Case number, if known _______________________                                 MM / DD / YYYY

     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
          Case 1:19-bk-06735             Doc 1      Filed 10/17/19 Entered 10/17/19 01:15:32                                 Desc Main
                                                    Document     Page 2 of 24
    Debtor           Dura G.P.                                                         Case number (if known)
              Name



    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.     Insurance agency

                                                                Contact name
                                                                Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                       ☒     1,000-5,000                        ☐    25,001-50,000
        creditors1                        ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                          ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                          ☐     200-999



    15. Estimated assets                  ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                          ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                          ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                          ☐     $500,001-$1 million        ☒     $100,000,001-$500 million           ☐   More than $50 billion




1
       The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
             Case 1:19-bk-06735                Doc 1       Filed 10/17/19 Entered 10/17/19 01:15:32                                 Desc Main
                                                           Document     Page 3 of 24
Debtor           Dura G.P.                                                           Case number (if known)
          Name




16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                ☐    $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million               ☐    $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million              ☐    $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☒    $100,000,001-$500 million             ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         10/17/2019
                                                              MM/ DD / YYYY


                                              /s/ Kevin Grady                                                      Kevin Grady
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ William L. Norton III                                         Date    10/17/2019
                                              Signature of attorney for debtor                                          MM/DD/YYYY



                                              William L. Norton III
                                              Printed name
                                              Bradley Arant Boult Cummings LLP
                                              Firm name
                                              1600 Division Street, Suite 700
                                              Number                  Street
                                              Nashville                                                             TN                37203
                                              City                                                                  State               ZIP Code
                                              (615) 252-2397                                                        bnorton@bradley.com
                                              Contact phone                                                             Email address
                                              10075                                               Tennessee
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
         Case 1:19-bk-06735                Doc 1        Filed 10/17/19 Entered 10/17/19 01:15:32                                   Desc Main
                                                        Document     Page 4 of 24
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           Middle District of Tennessee
                                        (State)                                                 ☐ Check if this is an
 Case number (if known):                                  Chapter   11                              amended filing


                                                Rider 1
                 Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Middle District of Tennessee for relief under chapter 11 of title
11 of the United States Code. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of Dura Automotive Systems, LLC.

          •    Dura Automotive Systems, LLC
          •    Dura Automotive Systems Cable Operations, LLC
          •    Dura Fremont L.L.C.
          •    Dura G.P.
          •    Dura Mexico Holdings, LLC
          •    Dura Operating, LLC
          •    NAMP, LLC




     Case 1:19-bk-06735                  Doc 1       Filed 10/17/19 Entered 10/17/19 01:15:32     Desc Main
                                                     Document     Page 5 of 24
                                UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF TENNESSEE

                                                             )
    In re:                                                   )      Chapter 11
                                                             )
    DURA G.P.,                                               )      Case No. 19-___________(___)
                                                             )
                               Debtor.                       )
                                                             )

                                LIST OF EQUITY SECURITY HOLDERS1


             Debtor                  Equity Holders              Address of Equity Holder            Percentage of
                                                                                                     Equity Held
                                                                 1780 Pond Run
                                 Dura Operating, LLC             Auburn Hills, Michigan                   99.9%
                                                                 48326
    Dura G.P.
                                                                 1780 Pond Run
                                 Dura Mexico
                                                                 Auburn Hills, Michigan                    0.1%
                                 Holdings, LLC
                                                                 48326




1
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
       Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as of the date of
       commencement of the chapter 11 case.




Case 1:19-bk-06735               Doc 1      Filed 10/17/19 Entered 10/17/19 01:15:32                      Desc Main
                                            Document     Page 6 of 24
                        UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF TENNESSEE

                                                )
 In re:                                         )   Chapter 11
                                                )
 DURA G.P.,                                     )   Case No. 19-___________(___)
                                                )
                       Debtor.                  )
                                                )

                         CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                  Shareholder                       Approximate Percentage of Shares Held

 Dura Operating, LLC                                                 99.9%




Case 1:19-bk-06735       Doc 1   Filed 10/17/19 Entered 10/17/19 01:15:32           Desc Main
                                 Document     Page 7 of 24
                OMNIBUS WRITTEN CONSENT IN LIEU OF MEETINGS


                                  Dated as of October 16, 2019

The undersigned, being all of the members of the Transaction Committee (as such term is defined
in the applicable Governing Documents), the Manager (as such term is defined in the applicable
Governing Documents), or the partners, as applicable (each, a “Governing Body”), of the
applicable entity set forth on Exhibit A attached hereto (each, a “Company,” and, collectively,
the “Companies”), hereby take the following actions and adopt the following resolutions pursuant
to the limited liability company agreement, operating agreement, partnership agreement, or similar
governing document, as applicable (in each case as amended or amended and restated, the
“Governing Documents”) of each Company and the laws of the state of formation of each
Company as set forth next to each Company’s name on Exhibit A;

WHEREAS, Dura Automotive Systems, LLC, a Delaware limited liability company, as debtor and
debtor-in-possession (the “Borrower”), the other Companies as guarantors of the obligations
thereunder (the “Guarantors”), Ark II CLO 2001-1, Ltd. and its affiliates (the “Lenders”), and
Patriarch Partners Agency Services, LLC, as administrative agent for the Lenders (together with
its permitted successors and assigns in such capacity, the “Administrative Agent”) and as collateral
agent (together with its permitted successors and assigns in such capacity, the “Collateral Agent”),
propose to enter into that certain debtor-in-possession senior secured superpriority term sheet (the
“DIP Term Sheet”), dated as of the date hereof;

WHEREAS, the obligation of the Lenders to make the DIP Loans to the Borrower under the DIP
Term Sheet is subject to each Company having satisfied certain conditions described in the DIP
Term Sheet;

WHEREAS, each Governing Body has considered presentations by the management and the
financial and legal advisors of each Company regarding the liabilities and liquidity situation of
each Company, the strategic alternatives available to it, and the effect of the foregoing on each
Company’s business;

WHEREAS, each Governing Body has had the opportunity to consult with the management and
the financial and legal advisors of the Companies and to fully consider each of the strategic
alternatives available to the Companies;

WHEREAS, each Company will receive benefits from the receipt by the Borrower of the DIP
Loans made by the Lenders under the DIP Term Sheet; and

WHEREAS, it is in the best interests of each Company to enter into the DIP Term Sheet and each
other DIP Loan Document (as defined below) to which it is a party and any other agreement,
document, instrument, certificate, recording and filing relating thereto.




Case 1:19-bk-06735        Doc 1    Filed 10/17/19 Entered 10/17/19 01:15:32            Desc Main
                                   Document     Page 8 of 24
NOW, THEREFORE, BE IT,

Chapter 11 Filing

RESOLVED, that in the judgment of each Governing Body, it is desirable and in the best interests
of each Company (including a consideration of its creditors and other parties in interest) that each
Company shall be, and hereby is, authorized to file, or cause to be filed, a voluntary petition for
relief (the “Chapter 11 Case”) under the provisions of chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”) in the bankruptcy court for the Middle District of Tennessee
(the “Bankruptcy Court”) and any other petition for relief or recognition or other order that may
be desirable under applicable law in the United States.

RESOLVED, that any of Lynn Tilton, as Chief Executive Officer, Kevin Grady, as Chief Financial
Officer, Jill Frizzley, as Independent Manager, Marc Beilinson, as Independent Manager, any
Executive Vice President, or any other duly appointed officer of each Company (collectively,
the “Authorized Signatories”), acting alone or with one or more other Authorized Signatories be,
and they hereby are, authorized, empowered, and directed to execute and file on behalf of each
Company all petitions, schedules, lists, and other motions, papers, or documents, and to take any
and all action that they deem necessary or proper to obtain such relief, including, without
limitation, any action necessary to maintain the ordinary course operation of each Company’s
business.

Retention of Professionals

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
(together, “Kirkland”), as general bankruptcy counsel to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
Company’s rights and obligations, including filing any motions, objections, replies, applications,
or pleadings; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Kirkland.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Bradley Arant Boult Cummings LLP (“Bradley”), as local
bankruptcy counsel to represent and assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
obligations, including filing any motions, objections, replies, applications, or pleadings; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of Bradley.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm Portage Point Partners, LLC (“Portage Point”), as restructuring advisor
to each Company to represent and assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights and



                                               2
Case 1:19-bk-06735        Doc 1    Filed 10/17/19 Entered 10/17/19 01:15:32              Desc Main
                                   Document      Page 9 of 24
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and cause to be filed an appropriate application for authority to employ or
retain the services of Portage Point.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm Jefferies LLC (“Jefferies”), as financial advisor and investment banker
to represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance each Company’s rights and obligations; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services of Jefferies.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Prime Clerk LLC (“Prime Clerk”), as notice and claims agent to
represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance each Company’s rights and obligations; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed appropriate applications for authority to retain the services of Prime Clerk.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ any other professionals to assist each Company in carrying out its duties under
the Bankruptcy Code; and in connection therewith, each of the Authorized Signatories, with power
of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers and fees, and to cause to be filed an appropriate application for authority to
retain the services of any other professionals as necessary.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power of
delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Signatories
deem necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with a
view to the successful prosecution of such case.

Cash Collateral and Debtor-in-Possession Financing

RESOLVED, that the form, terms and provisions of the DIP Term Sheet and each of the other DIP
Loan Documents (as defined below), and each Company’s incurrence and performance of its DIP
Obligations under the DIP Term Sheet and each of the other DIP Loan Documents, including any
borrowings of Loans in such amounts as may be available to the Borrower from time to time
thereunder and the consummation of the transactions contemplated thereby, be, and hereby are, in
all respects, authorized and approved; and further resolved, that each Company’s chief executive
officer, chief operating officer, chief financial officer, president, chief restructuring officer, vice
president, general counsel, treasurer, assistant treasurer, secretary, assistant secretary and any other
person so designated by the Board or chief executive officer or the president of each Company


                                                3
Case 1:19-bk-06735         Doc 1    Filed 10/17/19 Entered 10/17/19 01:15:32               Desc Main
                                   Document      Page 10 of 24
(the “Authorized Officers”), acting alone or with one or more Authorized Officers be, and hereby
is, authorized and empowered to execute and deliver, and to cause each Company to incur and
perform its DIP Obligations under, the DIP Term Sheet and each of the instruments and documents
listed below and all other agreements, documents and instruments contemplated by any of the
foregoing or requested by the Administrative Agent or the Collateral Agent in connection with any
of the foregoing, including, for the avoidance of doubt, all “DIP Loan Documents” as defined in
the DIP Term Sheet (together with the DIP Term Sheet, the “DIP Loan Documents”), and each of
the documents and instruments contemplated thereby, in the name and on behalf of each Company
under its seal or otherwise, substantially in the forms presented to the Board, with such changes
therein and modifications and amendments thereto as any Authorized Officer may in his or her
sole discretion approve, which approval shall be conclusively evidenced by his or her execution
thereof:

   (a)        any notes executed by the Borrower in connection with the DIP Term Sheet;

   (b)        any fee letter in connection with the DIP Term Sheet;

   (c)        any security documents in connection with the DIP Term Sheet;

   (d)        the Interim Order;

   (e)        the Final Order;

   (f)        any intercreditor agreement in connection with the DIP Term Sheet;

   (g)        any commitment letter in connection with the DIP Term Sheet;

   (h)        any guarantee in connection with the DIP Term Sheet;

   (i)        UCC financing statements, fixture filings, and other instruments as may be
              reasonably requested by the Administrative Agent or the Collateral Agent or as may
              be necessary or appropriate to create, preserve and perfect the security interests
              purported to be created by the Security Documents;

   (j)        such other security agreements, pledge agreements, deeds of trust, mortgages,
              notices, financing statements, tax affidavits, reaffirmation agreements, and other
              instruments as the Administrative Agent or the Collateral Agent may reasonably
              request or as may be necessary or appropriate to create, preserve and perfect the
              liens purported to be required pursuant to the DIP Loan Documents to be created
              in the DIP Collateral as collateral security for the payment of obligations, advances,
              debts or liabilities related to each Company’s DIP Obligations;

   (k)        such agreements with third parties (including, without limitation, bank agency
              agreements, motor vehicle perfection agreements, lockbox agreements, blocked
              account agreements, control agreements, credit card notices, customs broker
              agreements, landlord agreements and warehouse letters) relating to the DIP
              Collateral as the Administrative Agent or the Collateral Agent may reasonably
              request or as may be necessary or appropriate to create, preserve and perfect the


                                                4
Case 1:19-bk-06735       Doc 1      Filed 10/17/19 Entered 10/17/19 01:15:32           Desc Main
                                   Document      Page 11 of 24
               liens purported to be required pursuant to the DIP Loan Documents to be created
               in the DIP Collateral as collateral security for the payment of obligations, advances,
               debts or liabilities related to each Company’s obligations;

   (l)         any other DIP Loan Documents (as defined in the DIP Term Sheet); and

   (m)         such other documents, agreements, instruments, certificates, notices, assignments
               and documents as may be reasonably requested by the Administrative Agent or the
               Collateral Agent or required by the DIP Term Sheet, the Security Documents or
               any other DIP Loan Documents.

RESOLVED, that each Company will receive value and obtain benefits from the incurrence of the
Loans by the Borrower and the other obligations under the DIP Term Sheet and the DIP Loan
Documents which are necessary and convenient to the conduct, promotion and attainment of the
business of each Company.

RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and empowered,
in the name and on behalf of each Company, guarantee and to grant a security interest and lien in
all of each Company’s assets pursuant to the terms of the DIP Loan Documents, including, without
limitation, a pledge of all of the equity interests now owned or hereafter acquired by each Company
and all personal and real property of each Company now owned or hereafter acquired by each
Company, in each case, to the Collateral Agent, and the Collateral Agent is authorized to file or
record financing statements and other filing or recording documents or instruments with respect to
the Collateral without the signature of each Company in such form and in such offices as the
Collateral Agent or any Authorized Officer determines appropriate or necessary to perfect the
perfection of the security interests of the Collateral Agent under the DIP Term Sheet and the other
DIP Loan Documents. Without limiting the generality of the foregoing, the Collateral Agent is
expressly authorized to use a collateral description that encompasses “all assets” or “all personal
property” of each Company, wheresoever located, whether now owned and existing or hereafter
acquired, together with all proceeds thereof or any similar all assets description in any such
financing statements or other filing or recording documents or instruments.

RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and empowered,
in the name and on behalf of each Company, to take all such further actions including, without
limitation, to pay all fees and expenses in accordance with the terms of the DIP Loan Documents,
to arrange for and enter into supplemental agreements, amendments, instruments, certificates or
documents relating to the transactions contemplated by the DIP Term Sheet or any of the other
DIP Loan Documents and to execute and deliver all such supplemental agreements, amendments,
instruments, certificates or documents in the name and on behalf of each Company, which shall in
their sole judgment be necessary, proper or advisable in order to perform each Company’s
obligations under or in connection with the DIP Term Sheet or any of the other DIP Loan
Documents and the transactions contemplated therein, and which necessity or advisability shall be
conclusively evidenced by such Authorized Officer’s execution thereof, to carry out fully the intent
of the foregoing resolutions.

RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and empowered
to execute and deliver any amendments, amendment and restatements, supplements,


                                               5
Case 1:19-bk-06735        Doc 1    Filed 10/17/19 Entered 10/17/19 01:15:32             Desc Main
                                  Document      Page 12 of 24
modifications, renewals, extensions, replacements, consolidations, substitutions and extensions of
the DIP Term Sheet and any of the DIP Loan Documents which shall in their sole judgment be
necessary, proper or advisable.

RESOLVED, that the capitalized terms used in the resolutions under the caption “DEBTOR-IN-
POSSESSION TERM SHEET” and not otherwise defined herein shall have the meanings
ascribed to such terms in the DIP Term Sheet.

Prior Actions

RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date hereof
with respect to the transactions contemplated by the DIP Term Sheet and any other instruments,
agreements or documents related thereto entered into prior to, on or after the date hereof, be, and
hereby are, in all respects confirmed, approved and ratified. The actions taken by this written
consent shall have the same force and effect as if taken at a meeting of the Board, duly called and
constituted, pursuant to the Governing Agreements and the applicable laws of the jurisdiction in
which each such Company is organized. This consent may be executed in as many counterparts
as may be required; all counterparts shall collectively constitute one and the same consent.

General

RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be,
and they hereby are, authorized and empowered, in the name of and on behalf of each Company,
to take or cause to be taken any and all such other and further action, and to execute, acknowledge,
deliver, and file any and all such agreements, certificates, instruments, and other documents and
to pay all expenses, including but not limited to filing fees, in each case as in such Authorized
Signatory’s judgment, shall be necessary, advisable, or desirable in order to fully carry out the
intent and accomplish the purposes of the resolutions adopted herein.

RESOLVED, that each Governing Body of each Company has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the organizational documents of each Company, or hereby waive any right to have
received such notice.

RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of each Company, which acts would have
been approved by the foregoing resolutions except that such acts were taken before the adoption
of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of
each Company with the same force and effect as if each such act, transaction, agreement, or
certificate has been specifically authorized in advance by resolution of each Governing Body.

RESOLVED, that each of the Authorized Signatories (and their designees and delegates) be, and
hereby is, authorized and empowered to take all actions or to not take any action in the name of
each Company with respect to the transactions contemplated by these resolutions hereunder, as
such Authorized Signatory shall deem necessary or desirable in such Authorized Signatory’s
reasonable business judgment as may be necessary or convenient to effectuate the purposes of the
transactions contemplated herein.


                                               6
Case 1:19-bk-06735        Doc 1    Filed 10/17/19 Entered 10/17/19 01:15:32            Desc Main
                                  Document      Page 13 of 24
        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.

                                                Being all of the members of the Transaction
                                                Committee of:

                                                Dura Automotive Systems, LLC


                                                /s/ Jill Frizzley
                                                Name: Jill Frizzley
                                                Title: Independent Manager


                                                /s/ Marc Beilinson
                                                Name: Marc Beilinson
                                                Title: Independent Manager




Case 1:19-bk-06735     Doc 1    Filed 10/17/19 Entered 10/17/19 01:15:32       Desc Main
                               Document      Page 14 of 24
        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.

                                                Being all of the members of the Transaction
                                                Committee of:

                                                Dura Operating, LLC


                                                /s/ Jill Frizzley
                                                Name: Jill Frizzley
                                                Title: Independent Manager


                                                /s/ Marc Beilinson
                                                Name: Marc Beilinson
                                                Title: Independent Manager




Case 1:19-bk-06735     Doc 1    Filed 10/17/19 Entered 10/17/19 01:15:32       Desc Main
                               Document      Page 15 of 24
        IN WITNESS WHEREOF, the undersigned has executed this consent as of the date first
written above.

                                                Being the Manager of:

                                                Dura Mexico Holdings, LLC
                                                NAMP, LLC
                                                Dura Automotive Systems Cable
                                                Operations, LLC
                                                Dura Fremont L.L.C.


                                                /s/ Kevin Grady
                                                Name: Kevin Grady
                                                Title: Manager




Case 1:19-bk-06735     Doc 1    Filed 10/17/19 Entered 10/17/19 01:15:32       Desc Main
                               Document      Page 16 of 24
        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.

                                                Being all of the partners of:

                                                Dura G.P.


                                                Dura Operating, LLC



                                                /s/ Kevin Grady
                                                Name: Kevin Grady
                                                Title: Chief Financial Officer


                                                Dura Mexico Holdings, LLC


                                                /s/ Kevin Grady
                                                Name: Kevin Grady
                                                Title: Chief Financial Officer




Case 1:19-bk-06735     Doc 1    Filed 10/17/19 Entered 10/17/19 01:15:32         Desc Main
                               Document      Page 17 of 24
                                     Exhibit A


                            Company                                Jurisdiction
                  Dura Automotive Systems, LLC                      Delaware
                   Dura Mexico Holdings, LLC                        Delaware
                          NAMP, LLC                                 Delaware
          Dura Automotive Systems Cable Operations, LLC             Delaware
                       Dura Fremont L.L.C.                          Michigan
                       Dura Operating, LLC                          Delaware
                            Dura G.P.                               Delaware




Case 1:19-bk-06735   Doc 1    Filed 10/17/19 Entered 10/17/19 01:15:32   Desc Main
                             Document      Page 18 of 24
        Fill in this information to identify the case:

        Debtor name          Dura Automotive Systems, LLC

        United States Bankruptcy Court for the: Middle District of Tennessee

        Case number (if known)         ____________________________                                                                     Check if this is an
                                                                                                                                         amended filing

    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                  12/15

    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
    largest unsecured claims.

    Certain of the Debtors are named as defendants in over 2,600 actions across the country in connection with the marketing and sale of opioid medications
    (“Pending Actions”). Any claims asserted against any Debtor in respect of the Pending Actions (the “Pending Action Claims”) are contingent,
    unliquidated in amount and disputed. All creditors asserting Pending Action Claims will be included in the Debtors’ list of creditors. This List of Creditors
    Who Have the 50 Largest Unsecured Claims and Are Not Insiders does not include these contingent, unliquidated and disputed claims.

    Name of creditor and complete mailing        Name, telephone number, and            Nature of the    Indicate if     Amount of unsecured claim
    address, including zip code                  email address of creditor contact      claim (for       claim is        If the claim is fully unsecured, fill in only
                                                                                        example, trade   contingent,     unsecured claim amount. If claim is partially
                                                                                        debts, bank      unliquidated,   secured, fill in total claim amount and
                                                                                        loans,           or disputed     deduction for value of collateral or setoff to
                                                                                        professional                     calculate unsecured claim.
                                                                                        services, and
                                                                                                                         Total claim, Deduction for     Unsecured
                                                                                                                         if partially value of          claim
                                                                                                                         secured      collateral or
                                                                                                                                      setoff

                                               ADVANCE FREIGHT TRAFFIC SERV
  ADVANCE FREIGHT TRAFFIC SERV
                                               PHONE: 586-991-0750                          FREIGHT /
1 50845 MOUND ROAD                                                                                                                                      $2,851,202.05
                                               FAX: 586-991-0757                            SHIPPING
  SHELBY TWP, MI 48315
                                               EMAIL: SALES@ADVANCEFRT.COM

  PLASTI-PAINT INC.                            PLASTI-PAINT INC.
  801 WOODSIDE DRIVE                           PHONE: 989 681 5702
2                                                                                          MATERIALS                                                    $1,484,080.69
  P.O. BOX 280                                 FAX: 989-681-2790
  ST LOUIS, MI 48880                           EMAIL:

                                               YOUNG TECHNOLOGY INC
  YOUNG TECHNOLOGY INC
                                               PHONE: 630-690-4320
3 900 W. FULLERTON AVE                                                                     MATERIALS                                                    $1,140,493.42
                                               FAX:
  ADDISON, IL 60101
                                               EMAIL:

                                               BOWERS MFG
  BOWERS MFG
                                               PHONE: 269-323-2565
4 6565 S SPRINKLE RD                                                                       MATERIALS                                                    $1,046,294.68
                                               FAX: 269 323-1639
  PORTAGE, MI 49002
                                               EMAIL:

  STEEL TECHNOLOGIES DE MEXICO
                                               STEEL TECHNOLOGIES DE MEXICO
  AVE. TRANSFORMACION #1000
                                               PHONE: 11-52-868-810-0210
5 PARQUE IND'L FINSA 3A ETAPA                                                              MATERIALS                                                    $1,019,197.67
                                               FAX:
  MATAMORAS, TAMAULIPAS 87316
                                               EMAIL:
  MEXICO

    PACIFIC X CORPORATION                      PACIFIC X CORPORATION
    500 CARSON PLAZA DRIVE                     PHONE: 310-771-0591
6                                                                                          MATERIALS                                                     $935,179.43
    SUITE 206                                  FAX: 310-771-0535
    CARSON, CA 90746                           EMAIL: INFO@PACIFICXAUTO.COM




               Case
    Official Form 204   1:19-bk-06735        Doc 91Cases:
                             Chapter 11 or Chapter    Filed
                                                          List 10/17/19       Entered
                                                               of Creditors Who           10/17/19
                                                                                Have the 50           01:15:32
                                                                                            Largest Unsecured Claims Desc Main                             page 1
                                                     Document            Page 19 of 24
Debtor     Dura Automotive Systems, LLC                                           Case number (if known)
            Name


     Name of creditor and complete          Name, telephone number, and email   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    address of creditor contact         (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                                                                debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
                                                                                professional          unliquidated,   secured, fill in total claim amount and
                                                                                services, and         or disputed     deduction for value of collateral or setoff to
                                                                                government                            calculate unsecured claim.
                                                                                contracts)
                                                                                                                      Total         Deduction        Unsecured
                                                                                                                      claim, if     for value of     claim
                                                                                                                      partially     collateral or
                                                                                                                      secured       setoff

   PLS GMBH
                                           PLS GMBH
   SALZSTRABE 94
                                           PHONE: 49-7131-649870
 7 HEILBRONN                                                                        MATERIALS                                                         $879,454.06
                                           FAX: 07131-64987-27
   BADEN-WUERTTEMBERG 74076
                                           EMAIL:
   GERMANY

                                           LORENTSON MFG CO SW INC
   LORENTSON MFG CO SW INC
                                           PHONE: 956-399-8902
 8 2101 AMISTAD DR                                                                  MATERIALS                                                         $764,539.97
                                           FAX: 956-399-8902
   SAN BENITO, TX 78586
                                           EMAIL: JROUTT@LORENTSON.COM

   ALTEN TECHNOLOGIES USA                  ALTEN TECHNOLOGIES USA
   3221 W BIG BEAVER ROAD                  PHONE: 248 797 4305
 9                                                                              ADAS DEVELOPMENT                                                      $750,108.79
   SUITE 116                               FAX:
   TROY, MI 48325                          EMAIL:

   VENTURE STEEL DE MEXICO
                                           VENTURE STEEL DE MEXICO
   RL DE CV
                                           PHONE: 416-798-9396
10 AVENIDA JOSE VASCONCELOS                                                         MATERIALS                                                         $669,171.62
                                           FAX:
   SAN PEDRO GARZA G. 66265
                                           EMAIL:
   MEXICO

                                           TF-METAL U.S.A., LLC
   TF-METAL U.S.A., LLC
                                           PHONE: 859-485-3977
11 70 PRECISION DR                                                                  MATERIALS                                                         $662,612.40
                                           FAX:
   WALTON, KY 41094
                                           EMAIL:

                                           AACOA EXTRUSIONS
   AACOA EXTRUSIONS
                                           PHONE: 269-697-6063
12 2005 MAYFLOWER RD                                                                MATERIALS                                                         $565,079.34
                                           FAX: 269-697-6061
   NILES, MI 49120
                                           EMAIL: INFO@AACOA.COM

                                           AFX INDUSTRIES
   AFX INDUSTRIES
                                           PHONE: 956-550-8304
13 5845 E. 14TH ST.                                                                 MATERIALS                                                         $484,632.40
                                           FAX: 810-966-9522
   BROWNSVILLE, TX 78510
                                           EMAIL: JFLETCHER@AFXINDUSTRIES.COM

     TRW TRANSP ELECTRON- MEXICO           TRW TRANSP ELECTRON- MEXICO
     TRANPORTATION ELECT. DIV              PHONE: 956-971-5000
14                                                                                  MATERIALS                                                         $459,601.56
     24175 RESEARCH DRIVE                  FAX: 248-442-8640
     FARMINGTON HILLS, MI 28335-9971       EMAIL:

   QAD, INC.                               QAD, INC.
   10000 MIDLANTIC DRIVE                   PHONE: 317-345-6700
15                                                                                       IT                                                           $438,556.28
   SUITE 100                               FAX:
   MT. LAUREL, NJ 8054                     EMAIL: INFO@QAD.COM

                                           EASTERN SINTERED ALLOYS INC.
   EASTERN SINTERED ALLOYS INC.
                                           PHONE: 814-834-1216
   126 ACCESS RD.
16                                         FAX: 440-356-5553                        MATERIALS                                                         $434,740.96
   P.O. BOX 708
                                           EMAIL: DBLEITCH@COOK-LEIGH.COM;
   ST. MARYS, PA 15857
                                           JTLEICH@COOK-LEITCH.COM

     VIVACQUA LAW PLLC                     VIVACQUA LAW PLLC
     3101 E. EISENHOWER PARKWAY            PHONE: 734-418-3142
17                                                                                     LEGAL                                                          $430,511.66
     SUITE 1                               FAX: 734-418-3320
     ANN ARBOR, MI 48108                   EMAIL: MAIL@VIVACQUALAW.COM


             Case
  Official Form 204   1:19-bk-06735        Doc 91Cases:
                           Chapter 11 or Chapter    Filed
                                                        List 10/17/19       Entered
                                                             of Creditors Who           10/17/19
                                                                              Have the 50           01:15:32
                                                                                          Largest Unsecured Claims Desc Main                           page 2
                                                   Document            Page 20 of 24
Debtor     Dura Automotive Systems, LLC                                           Case number (if known)
            Name


     Name of creditor and complete          Name, telephone number, and email   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    address of creditor contact         (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                                                                debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
                                                                                professional          unliquidated,   secured, fill in total claim amount and
                                                                                services, and         or disputed     deduction for value of collateral or setoff to
                                                                                government                            calculate unsecured claim.
                                                                                contracts)
                                                                                                                      Total         Deduction        Unsecured
                                                                                                                      claim, if     for value of     claim
                                                                                                                      partially     collateral or
                                                                                                                      secured       setoff

                                           MULTITECH INDUSTRIES
   MULTITECH INDUSTRIES
                                           PHONE: 630-784-9200
18 350 VILLAGE DRIVE                                                                MATERIALS                                                         $420,288.54
                                           FAX: 630-784-9225
   CAROL STREAM, IL 60188
                                           EMAIL: INFO@MULTITECHIND.COM

                                           DAJACO INDUSTRIES, INC.
   DAJACO INDUSTRIES, INC.
                                           PHONE: 586-949-1590
19 49715 LEONA DRIVE                                                                MATERIALS                                                         $380,719.15
                                           FAX: 586-949-8407
   CHESTERFIELD, MI 48051
                                           EMAIL:

   KENWAL/JCI RESALE                       KENWAL/JCI RESALE
   8223 W. WARREN AVE.                     PHONE: 313-739-1000
20                                                                                  MATERIALS                                                         $368,795.37
   P.O. BOX 4359                           FAX: 313-739-1001
   DEARBORN, MI 48126                      EMAIL: SERVICE@KENWAL.COM

                                           TEKNOR APEX COMPANY
   TEKNOR APEX COMPANY
                                           PHONE: 401-642-3662
21 505 CENTRAL AVENUE                                                               MATERIALS                                                         $365,419.51
                                           FAX: 401-725-8095
   PAWTUCKET, RI 02861-1900
                                           EMAIL:

   ESSENCE FASTENING SYSTEM
                                           ESSENCE FASTENING SYSTEM
   (SHANGHAI) CO LTD
                                           PHONE: 86-21-5990-7217
22 NO 39,100 LN OF FENGSHUO RD                                                      MATERIALS                                                         $364,691.67
                                           FAX:
   SHANGHAI 201818
                                           EMAIL:
   CHINA
   METAL SYSTEMS OF MEXICO, LLC
                                           METAL SYSTEMS OF MEXICO, LLC
   KAPPA #425
                                           PHONE: 248-299-7635
23 PARQUO INDUSTRIAL FINSA                                                        RELATED PARTY                                                       $359,195.28
                                           FAX:
   APODACA, NUEVO LEON 66600
                                           EMAIL:
   MEXICO

                                           SEACO
   SEACO
                                           PHONE: 205-755-3084
24 725 KEYSTONE DR                                                                  MATERIALS                                                         $356,824.00
                                           FAX:
   CLANTON, AL 35046
                                           EMAIL:

     FUTURE ELECTRONICS(US) LLC            FUTURE ELECTRONICS(US) LLC
     237 HYMUS BLVD                        PHONE: 248 277 4041
25                                                                                  MATERIALS                                                         $356,696.56
     POINTE-CLAIRE, QC H9R 5C7             FAX: 514-695-3707
     CANADA                                EMAIL:

   METALKRAFT INDUSTRIES                   METALKRAFT INDUSTRIES
   1944 SHUMWAY HILL ROAD                  PHONE: 570-724-6800
26                                                                                  MATERIALS                                                         $351,970.05
   P.O. BOX 606                            FAX: 570-724-6999
   WELLSBORO, PA 16901                     EMAIL: AARON@METALKRAFTPM.COM

                                           BILCO WIRE ROPE & SUPPLY
   BILCO WIRE ROPE & SUPPLY
                                           PHONE: 908-351-7800
27 1285 CENTRAL AVENUE                                                              MATERIALS                                                         $351,837.10
                                           FAX: 908-355-5544
   HILLSIDE, NJ 7205
                                           EMAIL: SALES@BILCOGROUP.COM

   EMPAQUES RIO GRANDE SA DE CV
                                           EMPAQUES RIO GRANDE SA DE CV
   BENITO JUAREZ 2040 ENTRE
                                           PHONE: 868-810-9100
28 PROL GONZALEZ Y RAUL GARATE                                                      MATERIALS                                                         $351,816.47
                                           FAX:
   MATAMOROS 87340
                                           EMAIL: VENTASMAT@BOXES.MX
   MEXICO

             Case
  Official Form 204   1:19-bk-06735        Doc 91Cases:
                           Chapter 11 or Chapter    Filed
                                                        List 10/17/19       Entered
                                                             of Creditors Who           10/17/19
                                                                              Have the 50           01:15:32
                                                                                          Largest Unsecured Claims Desc Main                           page 3
                                                   Document            Page 21 of 24
Debtor     Dura Automotive Systems, LLC                                           Case number (if known)
            Name


     Name of creditor and complete          Name, telephone number, and email   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    address of creditor contact         (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                                                                debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
                                                                                professional          unliquidated,   secured, fill in total claim amount and
                                                                                services, and         or disputed     deduction for value of collateral or setoff to
                                                                                government                            calculate unsecured claim.
                                                                                contracts)
                                                                                                                      Total         Deduction        Unsecured
                                                                                                                      claim, if     for value of     claim
                                                                                                                      partially     collateral or
                                                                                                                      secured       setoff

                                           THE BANK OF NEW YORK MELLON
   THE BANK OF NEW YORK MELLON
                                           PHONE: 412-234-5000
29 500 ROSS STREET                                                              EMPLOYEE EXPENSE                                                      $346,000.00
                                           FAX:
   PITTSBURGH, PA 15262
                                           EMAIL:

   PERFECTION SPRING & STAMPING            PERFECTION SPRING & STAMPING
   P.O. BOX 275                            PHONE: 847-437-3900
30                                                                                  MATERIALS                                                         $343,494.20
   1449 EAST ALGONQUIN ROAD                FAX:
   MOUNT PROSPECT, IL 60056-0275           EMAIL: 411@PSS-CORP.COM

   COOPER CONTAINER CORP                   COOPER CONTAINER CORP
   D/B/A COOPER CONRAINER CORP             PHONE: 731-968-7300
31                                                                                  MATERIALS                                                         $336,468.10
   204 KIRBY DRIVE                         FAX:
   LEXINGTON, TN 38351                     EMAIL:

                                           TATA TECHNOLOGIES, INC.
   TATA TECHNOLOGIES, INC.
                                           PHONE: 248-426-1775
32 41050 W. ELEVEN MILE RD                                                               IT                                                           $333,101.72
                                           FAX:
   NOVI, MI 48375
                                           EMAIL:

                                           WRIGHT PLASTIC PRODUCTS
   WRIGHT PLASTIC PRODUCTS
                                           PHONE: 989-291-3211
33 201 CONDENSERY ROAD                                                              MATERIALS                                                         $324,313.17
                                           FAX: 989-291-5321
   SHERIDAN, MI 48884
                                           EMAIL: WPPS@WPPLLC.COM

                                           THOMPSON IG, LLC
   THOMPSON IG, LLC
                                           PHONE: 810-629-9558
34 3196 THOMPSON ROAD                                                               MATERIALS                                                         $311,982.79
                                           FAX: 810-629-8342
   FENTON, MI 48430
                                           EMAIL: INFO@THOMPSONIG.COM

                                           MENTOR GRAPHICS CORPORATION
   MENTOR GRAPHICS CORPORATION
                                           PHONE: 503-685-7000
35 8005 SW BOECKMAN RD.                                                                  IT                                                           $309,087.11
                                           FAX:
   WILSONVILLE, OR 97070-7777
                                           EMAIL: SALES_INFO@MENTOR.COM

     VT INDUSTRIAL TECHNOLOGY CO.          VT INDUSTRIAL TECHNOLOGY CO.
     #32 JIANHONG ROAD, WUXI NEW           PHONE: 86-510-6856-1027
36                                                                                  MATERIALS                                                         $300,080.00
     WUXI 214145                           FAX:
     CHINA                                 EMAIL: INFO@VT-IND.COM

   SUMEEKO LTD                             SUMEEKO LTD
   CMAI C/O SUMEEKO                        PHONE: 313-974-0122
37                                                                                  MATERIALS                                                         $297,147.55
   41400 EXECUTIVE DR                      FAX:
   HARRISON TOWNSHIP, MI 48045             EMAIL:

                                           PILKINGTON NORTH AMERICA INC
   PILKINGTON NORTH AMERICA INC
                                           PHONE: 419-247-3819
38 300 NORTHRIDGE RD                                                                MATERIALS                                                         $290,748.12
                                           FAX:
   SHELBYVILLE, IN 46176
                                           EMAIL:

                                           RANDSTAD
   RANDSTAD
                                           PHONE: 877-601-7453
39 P.O. BOX 2084                                                                   CONTRACTOR                                                         $288,356.69
                                           FAX:
   CAROL STREAM, IL 60132-2084
                                           EMAIL:


             Case
  Official Form 204   1:19-bk-06735        Doc 91Cases:
                           Chapter 11 or Chapter    Filed
                                                        List 10/17/19       Entered
                                                             of Creditors Who           10/17/19
                                                                              Have the 50           01:15:32
                                                                                          Largest Unsecured Claims Desc Main                           page 4
                                                   Document            Page 22 of 24
Debtor     Dura Automotive Systems, LLC                                           Case number (if known)
            Name


     Name of creditor and complete          Name, telephone number, and email   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    address of creditor contact         (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                                                                debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
                                                                                professional          unliquidated,   secured, fill in total claim amount and
                                                                                services, and         or disputed     deduction for value of collateral or setoff to
                                                                                government                            calculate unsecured claim.
                                                                                contracts)
                                                                                                                      Total         Deduction        Unsecured
                                                                                                                      claim, if     for value of     claim
                                                                                                                      partially     collateral or
                                                                                                                      secured       setoff

   VITRO AUTOMOTRIZ SA DE CV               VITRO AUTOMOTRIZ SA DE CV
   CARRETERA A GARCIA KM 10.3              PHONE: 52-81-8329-3600
40                                                                                  MATERIALS                                                         $287,913.50
   GARCIA 66000                            FAX:
   MEXICO                                  EMAIL:

   FASTCO INDUSTRIES INC                   FASTCO INDUSTRIES INC
   2685 MULLENS AVENUE                     PHONE: 616-389-1391
41                                                                                  MATERIALS                                                         $272,850.87
   P.O. BOX 141427                         FAX: 616-453-0728
   GRAND RAPIDS, MI 49514                  EMAIL: SALES@FASTCOIND.COM

     AOC METALWORKS                        AOC METALWORKS
     2005 LIBERTY AVENUE                   PHONE: 931-766-7750
42                                                                                  MATERIALS                                                         $269,045.02
     P.O. BOX 98                           FAX: 931-766-7753
     LAWRENCEBURG, TN 38464                EMAIL:

                                           BEKAERT CORPORATION - AR
   BEKAERT CORPORATION - AR
                                           PHONE: 479-474-5211
43 1881 BEKAERT DR                                                                  MATERIALS                                                         $264,505.97
                                           FAX:
   VAN BUREN, AR 72956
                                           EMAIL:

   SUNDARAM INDUSTRIES                     SUNDARAM INDUSTRIES
   C/O UTI WAREHOUSE                       PHONE: 586-515-0012
44                                                                                  MATERIALS                                                         $262,270.24
   1350 CHEERS BLVD                        FAX:
   BROWNSVILLE, TX 78521                   EMAIL:

                                           HELLA
   HELLA
                                           PHONE: 618-662-0703
45 43811 PLYMOUTH OAKS BLVD.                                                        MATERIALS                                                         $259,694.68
                                           FAX: 734-414-5098
   PLYMOUTH TWP., MI 48170-2539
                                           EMAIL: INFO-USA@HELLA.COM

                                           MARKEL CORPORATION
   MARKEL CORPORATION
                                           PHONE: 610-272-8960
46 P.O. BOX 752                                                                     INSURANCE                                                         $256,608.37
                                           FAX:
   NORRISTOWN, PA 19404
                                           EMAIL:

                                           S&P GLOBAL RATINGS
   S&P GLOBAL RATINGS
                                           PHONE: 1-800-767-1896
47 2542 COLLECTION CENTER DRIVE                                                     FINANCING                                                         $255,804.00
                                           FAX: 212-438-5178
   CHICAGO, IL 60693
                                           EMAIL:

   ERNST & YOUNG LLP                       ERNST & YOUNG LLP
   P.O. BOX 640382                         PHONE: 412-644-7800
48                                                                                   ADVISORY                                                         $253,000.00
   PITTSBG NTNL BNK-PITT 640382            FAX: 412-644-0477
   PITTSBURGH, PA 15264-0382               EMAIL:

                                           CROWN GROUP CO
   CROWN GROUP CO
                                           PHONE: 586 558 5310
49 12020 SHELBY TECH DR                                                             MATERIALS                                                         $240,547.42
                                           FAX: 586-739-7610
   SHELBY TOWNSHIP, MI 48315
                                           EMAIL:

                                           CARLEX GLASS AMERICA, LLC
   CARLEX GLASS AMERICA, LLC
                                           PHONE: 615-350-7500
50 7200 CENTENNIAL BLVD                                                             LITIGATION             C/U/D                                     UNLIQUIDATED
                                           FAX:
   NASHVILLE, TN 37209
                                           EMAIL:



             Case
  Official Form 204   1:19-bk-06735        Doc 91Cases:
                           Chapter 11 or Chapter    Filed
                                                        List 10/17/19       Entered
                                                             of Creditors Who           10/17/19
                                                                              Have the 50           01:15:32
                                                                                          Largest Unsecured Claims Desc Main                           page 5
                                                   Document            Page 23 of 24
    Fill in this information to identify the case and this filing:

   Debtor Name          Dura G.P.

   United States Bankruptcy Court for the:                Middle District of Tennessee
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                      List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Kevin Grady
                                       10/17/2019
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Kevin Grady
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors




     Case 1:19-bk-06735                    Doc 1        Filed 10/17/19 Entered 10/17/19 01:15:32                              Desc Main
                                                       Document      Page 24 of 24
